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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

  PDVSA US LITIGATION TRUST

                       Plaintiff,
               v.
  LUKOIL PAN AMERICAS LLC; LUKOIL
  PETROLEUM LTD.; COLONIAL OIL INDUSTRIES,
  INC.; COLONIAL GROUP, INC.; GLENCORE LTD.;              Case No. 1:18-CV-20818 (DPG)
  GLENCORE INTERNATIONAL A.G.; GLENCORE
  ENERGY     UK    LTD.;  MASEFIELD    A.G.;
  TRAFIGURA A.G.; TRAFIGURA TRADING LLC;
  TRAFIGURA BEHEER B.V.; VITOL ENERGY
  (BERMUDA) LTD.; VITOL S.A.; VITOL, INC.;
  FRANCISCO MORILLO; LEONARDO BAQUERO;
  DANIEL LUTZ; LUIS LIENDO; JOHN RYAN;
  MARIA FERNANDA RODRIGUEZ; HELSINGE
  HOLDINGS, LLC; HELSINGE, INC.; HELSINGE
  LTD.,       SAINT-HÉLIER;        WALTROP
  CONSULTANTS, C.A.; GODELHEIM, INC.;
  HORNBERG INC.; SOCIETE DOBERAN, S.A.;
  SOCIETE HEDISSON, S.A.; SOCIETE HELLIN,
  S.A.; GLENCORE DE VENEZUELA, C.A.; JEHU
  HOLDING     INC.;   ANDREW      SUMMERS;
  MAXIMILIANO POVEDA; JOSE LAROCCA; LUIS
  ALVAREZ; GUSTAVO GABALDON; SERGIO DE
  LA VEGA; ANTONIO MAARRAOUI; CAMPO
  ELIAS PAEZ; PAUL ROSADO; BAC FLORIDA
  BANK; EFG INTERNATIONAL A.G.; BLUE BANK
  INTERNATIONAL N.V.
                       Defendants


              PLAINTIFF’S MOTION FOR LEAVE TO EXCEED PAGE LIMIT
         Plaintiff PDVSA US Litigation Trust requests leave to file a 35 page Brief, 15 pages in

  excess of the 20 page limit set in forth Local Rule 7.1(c)(2) in support of its Objections to the
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  Report and Recommendations issued by Magistrate Judge Otazo-Reyes on November 6, 2018 (the

  “R&R”).

          The R&R was 36 pages long. The R&R addressed twelve issues and sub issues. Plaintiff

  needs more than 20 pages to be able to address each of these issues and arguments to set forth the

  Plaintiff’s position why the rulings should not be accepted by this Court. This case presents unique

  issues involving the numerous legal arguments as well as many factual and evidentiary rulings for

  which Plaintiff will submit Objections to this Court.

          This Court has the authority under Rule 7.1(c) (2) to provide Plaintiff the opportunity to

  file a brief of this length and Plaintiff requests that it be allowed sufficient opportunity to set forth

  its position.

          Further, Plaintiff will not oppose a request by Defendants to submit a 35-page brief in

  response to Plaintiff’s Objections.

                                 CERTIFICATE OF GOOD FAITH

          In accordance with Local Rule 7.1(a)(3)(A), the undersigned certifies that Plaintiff’s

  counsel has conferred with all counsel of record in a good-faith effort to resolve the issues raised

  in this motion and defense counsel does not oppose this request.

          Accordingly, Plaintiff requests that the Court enter an Order granting this Motion

  permitting Plaintiff to file a brief of up to 35 pages in support of its Objections to the R&R.

  Dated: November 13, 2018.

                                                     BOIES SCHILLER FLEXNER LLP
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                                       Attorneys for Plaintiff
   




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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing document was filed on November 13, 2018 with

  the Clerk of the Court via CM/ECF. I further certify that the foregoing document is being served

  this date on all counsel of record to all parties via transmission of Notices of Electronic Filing.



                                                                By: /s/ Steven W. Davis




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